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 1   BENJAMIN B. WAGNER
     United States Attorney
 2   TODD D. LERAS
     Assistant U.S. Attorney
 3   501 I Street, Ste 10-100
     Sacramento, CA 95814
 4   Telephone (916) 554-2918
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 6
 7
 8                    IN THE UNITED STATES DISTRICT COURT
 9                  FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA        ) CR. NO. 2:09-CR-0356 LKK
                                     )
12                  Plaintiff,       )
               v.                    ) STIPULATION AND ORDER
13                                   ) TO RESET MOTION SCHEDULE AND
                                     ) HEARING DATE
14   RUBEN ACOSTA LUGO, and          )
     GUADALUPE ALBERTO VELARDE
     ROCHIN,                         )
15                                   )
                    Defendants.      )
16
     _______________________________ )
17
18
19        Plaintiff United States of America and Defendants Ruben Acosta
20   Lugo (“Acosta”) and Guadalupe Velarde Rochin (“Velarde”), through
21   their respective counsel, Assistant Federal Defender Caro Marks and
22   Attorney Lorie J. Teichert, stipulate and agree to the following
23   revised schedule regarding briefing and re-setting the hearing on
24   two pending defense motions.     Defendants have filed and cross-joined
25   in Velarde’s “Motion to Suppress Evidence and Statements and Motion
26   to Dismiss Based on Equal Protection and Due Process Violations”
27   (for ease of reference, as explained below, referred to as the
28   “Suppression Motion”) and Acosta’s “Motion to Dismiss Indictment

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 1   Based on Equal Protection and Due Process Violations” (the “Equal
 2   Protection Motion”).       Though the “Fourth Amendment” was
 3   inadvertently not referenced in the caption of Velarde’s Suppression
 4   Motion, the parties agree that it alleges both Fourth Amendment
 5   violations (Sections I-V of the motion) and Equal Protection and Due
 6   Process Clause violations (Section VI, pp. 23-26).            The parties wish
 7   to bifurcate the Fourth Amendment issues from the Due Process and
 8   Equal Protection Clause issues.         Therefore, the term “Suppression
 9   Motion” refers only to Sections I-V of Velarde’s motion.             With this
10   express understanding, the parties agree to vacate the non-
11   evidentiary hearing date scheduled for both motions on July 20,
12   2010, and set the following schedule:
13
14                       Fourth Amendment Suppression Motion
15           1.   Government’s Opposition shall be filed no later than
                  August 10, 2010;
16
             2.   Defendants’ Reply shall be filed no later than
17                August 24, 2010; and
18           3.   An evidentiary hearing on the Suppression Motion shall be
                  set for September 30 through October 1, 2010.
19
20                              Equal Protection Motion
21           1.   A briefing schedule and evidentiary hearing, if necessary,
                  will be set by the parties following the hearing on the
22                Suppression Motion on October 1, 2010.
23
24           After conferring on the matter, the parties believe that the
25   evidentiary hearing for the Motion to Suppress is likely to require
26   two court days.      The parties have consulted with the clerk and the
27   Court is available on September 30 and October 1, 2010.
28   / / /

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 1        Additionally in light of the legal and factual issues raised by
 2   both motions, the parties agree that time shall be excluded pursuant
 3   to 18 U.S.C. § 3161(h)(7)(B)(iv) - Local Code T-4 - reasonable time
 4   to prepare and for continuity of counsel and 18 U.S.C.
 5   § 3161(h)(1)(D) - Local Code E - pending motion.         The parties agree
 6   to exclusion of time for the reasons stated above from July 20,
 7   2010, up to and including October 1, 2010.        Defense counsel have
 8   authorized Assistant U.S. Attorney Todd D. Leras to sign this
 9   stipulation on their behalf.
10                                            Respectfully submitted,
11                                            BENJAMIN B. WAGNER
                                              United States Attorney
12
13   DATED: July 14, 2010               By: /s/ Todd D. Leras
                                            TODD D. LERAS
14                                          Assistant U.S. Attorney
15
16   DATED: July 14, 2010               By: /s/ Todd D. Leras for
                                            CARO MARKS
17                                          Assistant Federal Defender
                                            Attorney for Defendant
18                                          RUBEN ACOSTA LUGO
19
20   DATED: July 14, 2010               By: /s/ Todd D. Leras for
                                            LORIE J. TEICHERT
21                                          Attorney for Defendant
                                            GUADALUPE VELARDE ROCHIN
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 1
 2                                      ORDER
 3        Based on the stipulation of the parties, it is hereby ordered
 4   that the revised briefing schedule is adopted and that time shall be
 5   excluded under Local Code T-4 and Local Code E from July 20, 2010,
 6   up to and including October 1, 2010.       The evidentiary hearing on
 7   Defendants’ Motion to Suppress Evidence is scheduled for September
 8   30 through October 1, 2010.     A non-evidentiary hearing on
 9   Defendants’ Equal Protection Motion is set for October 1, 2010.
10
11   DATED: July 19, 2010
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